         Case 2:17-cr-00128-RMP           ECF No. 355        filed 02/06/18       PageID.1264 Page 1 of 1
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(3/15)


                              UNITED STATES DISTRICT COURT                                              FILED IN THE
                                                                                                    U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON

                                                           for
                                                                                               Feb 06, 2018
                                           Eastern District of Washington                          SEAN F. MCAVOY, CLERK




U.S.A. vs.                    Lehman, Brandi L.                        Docket No.            2:17CR00128-RMP-2

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Brandi L Lehman, who was placed under pretrial release supervision by the Honorable U. S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 8th day of September 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant admitted to ingesting marijuana on January 15, 2018.

Violation #2: The defendant tested positive for the presence of marijuana on January 24, 2018.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       February 6, 2018
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer



THE COURT ORDERS

[X ]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other

                                                                           Signature of Judicial Officer


                                                                                    2/6/2018

                                                                           Date
